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Case 18-07091-JMC-13   Doc   Filed 07/21/21   EOD 07/21/21 14:15:42   Pg 3 of 5
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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 In Re:                                           Case No. 18-07091-JMC-13

 Ranee Sowmya Rathee
                                                  Chapter 13
  aka Pinpoint Realty Services LLC

 Debtor.                                          Judge James M. Carr

                                CERTIFICATE OF SERVICE

I certify that on July 21, 2021, a copy of the foregoing Notice of Postpetition Mortgage Fees,
Expenses, and Charges was filed electronically. Notice of this filing will be sent to the following
party/parties through the Court’s ECF System. Party/parties may access this filing through the
Court’s system:

          Michael Steven Cox, Debtor’s Counsel
          gloyeskilawin@hotmail.com

          Ann M. DeLaney, Trustee
          ecfdelaney@trustee13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov
 Case 18-07091-JMC-13         Doc     Filed 07/21/21     EOD 07/21/21 14:15:42         Pg 5 of 5




I further certify that on July 21, 2021, a copy of the foregoing Notice of Postpetition Mortgage
Fees, Expenses, and Charges was mailed by first-class U.S. Mail, postage prepaid and properly
addressed to the following:

       Ranee Sowmya Rathee, Debtor
       350 N. Meridian Street
       A301
       Indianapolis, IN 46204

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
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                                                  Attorney for Creditor
